Case 15-07651-CL7 Filed 04/17/19 Entered 04/18/19 08:50:12 Doc 411 Pg.1of1

To: Russ Reynolds FILED of
2018 :
From: Ronald E. Stadtmueller, Trustee APR IT PH | 50
CLERK
. US. BANKRUPT
Case Name: JULIE R. ASPIRAS SO. DIST. OF nie
Case Number: 15-07651-CL7 be #734236

Date: April 17, 2019

TRANSMITTAL OF UNCLAIMED FUNDS
IN CHAPTER 7 CASE

It has been more than ninety days after the final distribution under 11 U.S.C.
§ 726. I have stopped payment on any check remaining unpaid. I am paying into
the court all unclaimed funds. Attached are checks for any unclaimed or uncashed
funds payable to the Registry of the U.S. Bankruptcy Court.

Pursuant to Federal Rule of Bankruptcy Procedure 3011, I am submitting a
list of all known names and addresses of the entities and the amounts which they
are entitled to be paid from remaining property of the estate that is being paid into
court pursuant to 11 U.S.C. § 347(a).

Name and Address of Entity Check Amount
Capital One Bank (Claim #5) $443.43

c/o Beckett & Lee LLP (includes interest $6.63)
PO Box 3001

Malvern, PA 19335-0701

Julie R. Aspiras (surplus funds to debtor) $94,582.28
1744 Aryanna Drive
Encinitas, CA 92024

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